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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SHARDA CLAY, as parent and next friend           )
 of C.C., a minor,                                )
                                                  )
                                Plaintiff,        )
                                                  )
                        v.                        )
                                                  )
 VHS WEST SUBURBAN MEDICAL                        )
 CENTER, INC.,                                    )    No. 21 C 1634
                                                  )
                                Defendant,        )    Judge
                                                  )
 VHS WEST SUBURBAN MEDICAL                        )    Formerly Case No. 2018 L 013059
 CENTER, INC.,                                    )    Circuit Court of Cook County, Illinois
                                                  )
                      Third-Party Plaintiff,      )
                                                  )
                        v.                        )
                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                     Third-Party Defendant.       )

                  NOTICE OF REMOVAL OF A CIVIL ACTION AND
               SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:      Dorothy Brown                                Jerome A. Vinkler
           Clerk of the Circuit Court                   Vinkler Law Offices, Ltd.
           Richard J. Daley Center, Room 1001           7045 Veterans Boulvard, Suite A2
           50 West Washington Street                    Burr Ridge, Illinois 60527
           Chicago, Illinois 60602

           Matt McElligott                              Carl M. Schultz
           Hall Prangle & Schoonveld, LLC               Malecki & Brooks Law Group, LLC
           200 S. Wacker Dr., Ste. 330                  205 East Butterfield Road, Suite 225
           Chicago, Illinois 60606                      Elmhurst, Illinois 60126

         The United States of America, by its attorney, John R. Lausch, Jr., United States Attorney

for the Northern District of Illinois, submits this notice of removal of the above-captioned civil

action from the Circuit Court of Cook County, Illinois, to the United States District Court,
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Northern District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the

following:

       1.      On or about December 4, 2018, plaintiff Sharda Clay, as parent and next friend of

C.C., a minor, commenced the above civil action in the Circuit Court of Cook County, Illinois,

against VHS West Suburban Medical Center, Inc., d/b/a West Suburban Medical Center, alleging

medical malpractice. A copy of the state court complaint is attached as Exhibit A.

       2.      On or about December 30, 2019, defendant VHS West Suburban filed a third-party

complaint against PCC Community Wellness Center; Jennifer Rossato, D.O.; Chidinma Osefo,

M.D.; and Tamajah Gibson, M.D., alleging medical negligence, contribution, and contractual and

implied indemnification. A copy of the third-party complaint is attached as Exhibit B.

       3.      For purposes of this lawsuit, PCC Community Wellness Center is a private entity

that receives grant money from the Public Health Service pursuant to 42 U.S.C. § 233. See Exhibit

C. In addition, Rossato, Osefo, and Gibson were acting within the scope of their employment at

PCC Community Wellness Center with respect to the incidents referred to in the complaint. Id.

       4.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that Rossato, Osefo, and

Gibson were acting within the scope of their employment at PCC Community Wellness Center

with respect to the incidents referred to in the complaint. Exhibit C.

       5.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       6.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the




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United States, and the United States is substituted as the sole federal third-party defendant in place

of defendants PCC Community Wellness Center, Rossato, Osefo, and Gibson.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the third-party defendant for PCC Community Wellness Center; Jennifer Rossato, D.O.; Chidinma

Osefo, M.D.; and Tamajah Gibson, M.D.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, Jr.
                                               United States Attorney

                                               By: s/ Alex Hartzler
                                                  ALEX HARTZLER
                                                  Assistant United States Attorney
                                                  219 South Dearborn Street
                                                  Chicago, Illinois 60604
                                                  (312) 886-1390
                                                  alex.hartzler@usdoj.gov




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           Exhibit A
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            Exhibit B
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3039904/XSM/ELB                                                                      Firm ID 42907
                                                                                       DOROTHY    BROWN
                                                                                       CIRCUIT CLERK
                                                                                       COOK COUNTY, IL
                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                     2018L013059
                          COUNTY DEPARTMENT, LAW DIVISION
                                                                                          7880704
SHARDA CLAY, as Parent and Next Friend of             )
           , a minor                                  )

                                                      )
                                                      )
                       Plaintiffs,                    )
v.                                                    )       NO.     18 L 013059
                                                      )
VHS WEST SUBURBAN MEDICAL CENTER, INC.                )
d/b/a WEST SUBURBANMEDICAL CENTER,                    )
a Corporation                                         )
3 Erie Court                                          )
Oak Park, Illinois 60302,                             )
                                                      )
                       Defendant.                     )
                                                      )
VHS WEST SUBURBAN MEDICAL CENTER,                     )
INC. d/b/a WEST SUBURBAN MEDICAL CENTER,              )
                                                      )
                       Third Party Plaintiff,         )
                                                      )
v.                                                    )
                                                      )
PCC COMMUNITY WELLNESS CENTER,                        )
JENNIFER ROSSATO, D.O., CHIDINMA                      )
OSEFO, M.D., and TAMAJAH GIBSON, M.D.,                )
                                                      )
                       Third Party Defendants.        )

                                     THIRD PARTY COMPLAINT
       NOW COMES the Defendant, VHS WEST SUBURBAN MEDICAL CENTER, INC. d/b/a
WEST SUBURBAN MEDICAL CENTER, by and through its attorneys, SMITHAMUNDSEN LLC
and pursuant to 735 ILCS 5/2-406, for its Third Party Complaint against PCC COMMUNITY
WELLNESS CENTER, JENNIFER ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH
GIBSON, M.D., states as follows:
                                 JURISDICTIONAL STATEMENT
       1.      Plaintiff Sharda Clay is a resident citizen of the State of Mississippi.
       2.      Plaintiff                is a minor who is a resident citizen of the State of
Mississippi, residing with his parent and next friend, Sharda Clay.
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                                                       3.     Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC. d/b/a
                                              WEST SUBURBAN MEDICAL CENTER is a Delaware corporation with its principal place of
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                                              business in Texas.
                                                       4.     Third Party Defendant PCC COMMUNITY WELLNESS CENTER is an Illinois
                                              corporation with its principal place of business located at 14 Lake Street, Oak Park, Illinois.
                                                       5.     Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC. d/b/a
                                              WEST SUBURBAN MEDICAL CENTER (“WSMC”) is engaged in the business of providing health
                                              care in the County of Cook.
                                                       6.     Third Party Defendant PCC COMMUNITY WELLNESS CENTER (“PCC”) is a
                                              provider of medical services to individuals in Cook County, Illinois, as a Health Center
                                              Program grantee under 42 U.S.C. 254b, and a deemed Public Health Service employee under
                                              42 U.S.C. 233(g)-(n).
                                                       7.     Third Party Defendant JENNIFER L. ROSSATO, D.O., is a family medicine
                                              physician licensed to practice medicine in the State of Illinois, and she is a resident of Chicago,
                                              Illinois.
                                                       8.     Third Party Defendant CHIDINMA OSEFO, M.D. is a family medicine physician
                                              licensed to practice medicine in the State of Illinois, and she is a resident of Illinois.
                                                       9.     Third Party Defendant TAMAJAH GIBSON, M.D., is a family medicine physician
                                              licensed to practice medicine in the State of Illinois, and she is a resident of Berwyn, Illinois.
                                                                                   FACTUAL ALLEGATIONS
                                                       10.    This medical malpractice case is pending in the Circuit Court of Cook County,
                                              Illinois, Case No. 2018 L 13059. See Exhibit A, Plaintiffs’ Amended Complaint. Plaintiffs
                                              allege medical negligence arising from care rendered to Ms. Sharda Clay and her then unborn
                                              child,            , on and around May 26, 2012 — May 27, 2012, at WSMC.
                                                       11.    Plaintiffs allege that, at all relevant times, WSMC acted directly and/or through
                                              its actual and/or apparent agents, servants and employees, including, but not limited to,
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., TAMAJAH GIBSON, M.D., and other
                                              physicians, residents, and labor and delivery nurses and staff, acted within the scope of their
                                              agency and/or employment with respect to the care and treatment of Sharda Clay and her
                                              fetus,            .
                                                       12.    WSMC filed its answer to Plaintiffs’ Amended Complaint denying all material
                                              allegations against it and specifically denying that JENNIFER L. ROSSATO, D.O., CHIDINMA

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                                              OSEFO, M.D., and TAMAJAH GIBSON, M.D. were its actual or apparent agents, servants or
                                              employees. See Exhibit B, WSMC’s Answer.
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                                                      13.    At all times relevant hereto, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
                                              M.D., and TAMAJAH GIBSON, M.D., were physicians licensed by the State of Illinois engaged in
                                              the practice of family medicine, which included providing obstetrical and gynecological care.
                                                      14.    At all times relevant hereto, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
                                              M.D., and TAMAJAH GIBSON, M.D., held themselves out to Sharda Clay in particular, and the
                                              public in general, as being able and skilled physicians, possessing the same level of care and
                                              skill required by the profession generally under like and similar circumstances and that each
                                              was well able to render proper and adequate obstetrical care to Sharda Clay and                 at
                                              all times.
                                                      15.    At all times relevant hereto, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
                                              M.D., and TAMAJAH GIBSON, M.D., acted within the scope of their authority as actual and/or
                                              apparent agents, servants and/or employees of PCC.
                                                      16.    Sharda Clay received her prenatal care at the PCC Lake Street Family Health
                                              Center in Chicago, which is one of several health centers owned and operated by PCC.
                                                      17.    TAMAJAH GIBSON, M.D, as an actual and/or apparent agent of PCC, provided
                                              prenatal care to Plaintiff Sharda Clay during the pregnancy of her unborn child, Plaintiff
                                                  , through PCC Lake Street Family Health Center.
                                                      18.    Ms. Clay's obstetrical history was significant for one prior pregnancy, which
                                              appears to have been delivered via cesarean section.
                                                      19.    Ms. Clay presented to WSMC on May 26, 2012 with complaints of contractions.
                                              At the time, Ms. Clay was approximately 40w2d pregnant. Upon admission, Ms. Clay was
                                              hooked up to an electronic fetal heart rate monitor and tocodynamometer, and her
                                              contractions and the fetal heart rate were monitored continuously.
                                                      20.    Ms. Clay's membranes were artificially ruptured at 02:57, and described as heavy
                                              meconium. An IUPC was in place at 03:15. A cervical exam at 06:15 documented that Ms. Clay
                                              had progressed to 6/80/0.
                                                      21.    At 09:15 on May 27th, a cervical exam documented that Ms. Clay was at 7/80/1.
                                                      22.    JENNIFER L. ROSSATO, D.O., was involved in Ms. Clay's care by 09:38 on May
                                              27, 2012.


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                                                       23.   Ms. Clay was seen and examined by CHIDINMA OSEFO, M.D., at 11:37 on the
                                              27th. Dr. OSEFO performed a cervical exam, and documented that Ms. Clay was at 7/80/+1. At
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                                              11:48, Dr. OSEFO documented the results of another cervical exam as 8/90/0.
                                                       24.   Drs. OSEFO and GIBSON performed another cervical exam and documented the
                                              results as 9/90/0.
                                                       25.   By 13:58, it is documented that Ms. Clay was "on hands and knees, tolerating
                                              well."
                                                       26.   Dr. ROSSATO documented a vaginal exam at 15:02 and documented that Ms.
                                              Clay was at 8/90/-1.
                                                       27.   Dr. OSEFO performed a cervical exam at 17:15, and documented her findings as
                                              follows: 8/80/0. A decision to perform a cesarean section was made at 17:24 for failure to
                                              progress.
                                                       28.   The cesarean section, which was performed by Dr. GIBSON with the assistance
                                              of Dr. OSEFO, began at 18:42 and               was delivered at approximately 19:12.
                                                       29.   According to Plaintiffs’ Amended Complaint, Baby                    was severely
                                              depressed at delivery, with APGARS of 3, 5, and 5 and significant caput succedaneum. Plaintiffs
                                              further allege he was severely acidotic at birth, with a cord gas pH of 6.766 and a base excess of
                                              -25.6. Baby          was diagnosed with hypoxic ischemic encephalopathy, and transferred to
                                              Children's Memorial Hospital for cooling. Plaintiffs allege he has developed significant physical
                                              and neurological injuries.
                                                                               COUNT I
                                                                 MEDICAL NEGLIGENCE – CONTRIBUTION
                                                PCC COMMUNITY WELLNESS CENTER, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
                                                                   M.D., AND TAMAJAH GIBSON, M.D

                                                       30.   Third Party Plaintiff restates and re-alleges the preceding paragraphs 1-29 of
                                              this Third Party Complaint as if fully stated herein.
                                                       31.   At all relevant times, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and
                                              TAMAJAH GIBSON, M.D., were the actual and/or apparent agents, servants and/or employees
                                              of PCC, and were acting within the scope of their employment and/or agency when they
                                              provided care and treatment to Plaintiffs Sharda Clay and                on May 26 through May
                                              27, 2012.




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                                                     32.    Third Party Defendant PCC, acting directly and/or through its actual and/or
                                              apparent agents, servants and/or employees JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
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                                              M.D. and TAMAJAH GIBSON, M.D., and each individual Third Party Defendant JENNIFER L.
                                              ROSSATO, D.O., CHIDINMA OSEFO, M.D. and TAMAJAH GIBSON, M.D., breached the standard of
                                              care and was negligent in one or more of the following ways:
                                                            a.     Failing to properly assess Sharda Clay and her fetus;
                                                            b.     Failing to recognize Sharda Clay's condition and to do so on a timely
                                                                   basis;
                                                            c.     Failing to recognize the fetus's condition and to do so on a timely basis;
                                                            d.     Failing to respond appropriately to the mother's condition and the
                                                                   fetus's condition in a timely manner;
                                                            e.     Failing to respond appropriately to the fetal heart tracings and
                                                                   other signs and symptoms of fetal stress and/or fetal distress;
                                                            f.     Failing to appreciate the appropriate method of delivery required;
                                                            g.     Failing to properly manage and monitor the labor and delivery so as to
                                                                   prevent avoidable injury to the baby;
                                                            h.     Failing to advise Sharda Clay of the risks of continuing a trial of labor
                                                                   rather than delivering the baby by cesarean section;
                                                            i.     Failing to deliver             in a timely manner;
                                                            j.     F ailing to perform a cesarean section in a timely manner;
                                                            k.     Failing to properly read and interpret the fetal heart tracings;
                                                            l.     Failing to timely recognize and appropriately respond to signs and
                                                                   symptoms of fetal stress and/or fetal distress;
                                                            m.     Failing to intervene in a timely manner to prevent severe injuries to
                                                                               ;
                                                            n.     Failing to initiate the chain of command in the setting of the physician's
                                                                   obviously negligent actions;
                                                            o.     Failing to provide adequate supervision of obstetrical personnel;
                                                            p.     Failing to appropriately and timely diagnose a labor dystocia/failure to
                                                                   progress.
                                                     33.    As a direct and proximate result of the negligence of Third Party Defendants
                                              PCC, acting directly and/or through its actual and/or apparent agents, servants and/or

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                                              employees Jennifer L. Rossato, D.O., Chidinma Osefo, M.D., and Tamajah Gibson, M.D., and each
                                              Third Party Defendant JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH
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                                              GIBSON, M.D., individually (as described above), Plaintiffs were injured.
                                                     34.     As a result of the negligent acts or omissions on the part of Third Party
                                              Defendants PCC, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON,
                                              M.D., the Third Party Plaintiff WSMC, is entitled to contribution from the Third Party
                                              Defendants PCC, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON,
                                              M.D., in an amount to be determined based upon their relative culpability pursuant to the
                                              Illinois Contribution Act, 740 ILCS 100/01, et seq.
                                                     35.     Should a jury find in favor of the Plaintiffs, and against the Third Party
                                              Plaintiff/Defendant, WSMC is entitled to have judgment entered in its favor, and against the
                                              Third Party Defendants, PCC, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and
                                              TAMAJAH GIBSON, M.D., in accordance with their relative culpability pursuant to the Illinois
                                              Contribution Act.
                                                     WHEREFORE, the Third Party Plaintiff/Defendant, VHS WEST SUBURBAN MEDICAL
                                              CENTER, INC. d/b/a WEST SUBURBAN MEDICAL CENTER, prays that, in the event judgment is
                                              entered in favor of the Plaintiffs and against it, then judgment also be entered in its favor and
                                              against PCC COMMUNITY WELLNESS CENTER, JENNIFER L. ROSSATO, D.O., CHIDINMA
                                              OSEFO, M.D., and TAMAJAH GIBSON, M.D., based upon their relative culpability for the injuries
                                              sustained by Plaintiffs.
                                                                                    COUNT II
                                                                          CONTRACTUAL INDEMNIFICATION –
                                                                          PCC COMMUNITY WELLNESS CENTER

                                                     36.     Third Party Plaintiff restates and re-alleges the preceding paragraphs 1-29 of
                                              this Third Party Complaint as if fully stated herein.
                                                     37.     At all relevant times, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and
                                              TAMAJAH GIBSON, M.D., were the actual and/or apparent agents, servants and/or employees
                                              of PCC, and were acting within the scope of their employment and/or agency when they
                                              provided care and treatment to Plaintiffs Sharda Clay and               on May 26 through May
                                              27, 2012.
                                                     38.     Third Party Defendant PCC, acting directly and/or through its actual and/or
                                              apparent agents, servants and/or employees JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,

                                                                                               6
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                                              M.D., and TAMAJAH GIBSON, M.D., breached the standard of care and was negligent in one or
                                              more of the following ways:
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                                                              a.    Failing to properly assess Sharda Clay and her fetus;
                                                              b.    Failing to recognize Sharda Clay's condition and to do so on a timely
                                                                    basis;
                                                              c.    Failing to recognize the fetus's condition and to do so on a timely basis;
                                                              d.    Failing to respond appropriately to the mother's condition and the
                                                                    fetus's condition in a timely manner;
                                                              e.    Failing to respond appropriately to the fetal heart tracings and
                                                                    other signs and symptoms of fetal stress and/or fetal distress;
                                                              f.    Failing to appreciate the appropriate method of delivery required;
                                                              g.    Failing to properly manage and monitor the labor and delivery so as to
                                                                    prevent avoidable injury to the baby;
                                                              h.    Failing to advise Sharda Clay of the risks of continuing a trial of labor
                                                                    rather than delivering the baby by cesarean section;
                                                              i.    Failing to deliver             in a timely manner;
                                                              l.    F ailing to perform a cesarean section in a timely manner;
                                                              m.    Failing to properly read and interpret the fetal heart tracings;
                                                              1.    Failing to timely recognize and appropriately respond to signs and
                                                                    symptoms of fetal stress and/or fetal distress;
                                                              q.    Failing to intervene in a timely manner to prevent severe injuries to
                                                                                ;
                                                              r.    Failing to initiate the chain of command in the setting of the physician's
                                                                    obviously negligent actions;
                                                              s.    Failing to provide adequate supervision of obstetrical personnel;
                                                              t.    Failing to appropriately and timely diagnose a labor dystocia/failure to
                                                                    progress.
                                                     39.      As a direct and proximate result of the negligence of Third Party Defendant
                                              PCC, acting directly and/or through its actual and/or apparent agents, servants and/or
                                              employees Jennifer L. Rossato, D.O., Chidinma Osefo, M.D., and Tamajah Gibson, M.D., Plaintiffs
                                              were injured.


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                                                     40.     On or about January 1, 2010, West Suburban Medical Center and Third Party
                                              Defendant PCC entered into a Professional Services Agreement (“Agreement”) to arrange for
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                                              administration and delivery of certain professional medical services by PCC to West Suburban
                                              Medical Center patients. See Exhibit C, Agreement.
                                                     41.     On or about August 1, 2010, a Consent to Assignment and Amendment to
                                              Professional Services Agreement (“1st Amendment”) was executed by PCC and WSMC,
                                              memorializing the assignment of West Suburban Medical Center’s rights under the Agreement
                                              to Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC. d/b/a WEST
                                              SUBURBAN MEDICAL CENTER and amending certain provisions of the Agreement with PCC.
                                              See Exhibit D, 1st Amendment.
                                                     42.     The Agreement and 1st Amendment defined the scope of services PCC, by and
                                              through its physicians, provided to certain patients at West Suburban Medical Center.
                                              Additionally, the Agreement and 1st Amendment stated that PCC would “keep and maintain
                                              professional liability insurance for itself and each of its Physicians.” See Exhibit C,
                                              Agreement, para. 8.1.
                                                     43.     Such coverage kept and maintained by PCC applied to any “PCC Assigned
                                              Patient” treated at the hospital. The phrase “PCC Assigned Patient” is defined as “any patient
                                              who is (a) under the care of a physician who is employed by or under contract with PCC
                                              Community Wellness Center or (b) not under the care of any other physician.” See Exhibit
                                              D, 1st Amendment, paras. 2 and 4 (emphasis added).
                                                     44.     The Agreement further contained an indemnification clause wherein PCC
                                              agreed to “defend, indemnify and hold [WSMC], its officers, directors, agents, employees,
                                              affiliates, successors and assigns harmless for all losses, liabilities claims and expenses
                                              whatsoever, including attorneys fees, arising out of any act or omission of the indemnifying
                                              Party [PCC] relating to, arising out of, or in connection with this Agreement and the services to
                                              be provided hereunder.” Exhibit C, para. 9.2.
                                                     45.     At all relevant times, Plaintiffs Sharda Clay and            were patients under
                                              the care of a physician employed by or under contract with PCC Community Wellness Center,
                                              specifically Jennifer L. Rossato, D.O., Chidinma Osefo, M.D., and Tamajah Gibson, M.D.
                                                     46.     On March 21, 2019, WSMC tendered its defense and indemnification to PCC.
                                              See Exhibit E, tender letter.


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                                                     47.     As of the date of filing this Third Party Complaint, PCC COMMUNITY WELLNESS
                                              CENTER has not undertaken the defense and/or indemnification of WSMC.
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                                                     48.     Under the terms of the Agreement and amendments thereto, PCC owes WSMC a
                                              defense and indemnification in connection with Plaintiffs’ lawsuit.
                                                     49.     If WSMC is found liable to Plaintiffs, either based on its own alleged acts and/or
                                              omissions, and/or based on the alleged acts and/or omissions of its actual and/or alleged
                                              apparent agents, servants and/or employees JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO,
                                              M.D., and TAMAJAH GIBSON, M.D., then PCC is obligated under the terms of the Agreement and
                                              1st Amendment, to defend and indemnify WSMC for such liability and for the attorneys’ fees,
                                              costs, and expenses WSMC incurred in connection with the defense of this lawsuit.
                                                     WHEREFORE, the Third Party Plaintiff, VHS WEST SUBURBAN MEDICAL CENTER, INC.
                                              d/b/a WEST SUBURBAN MEDICAL CENTER, respectfully requests that, if it be determined that
                                              it is liable to the Plaintiffs for any alleged negligence by PCC COMMUNITY WELLNESS CENTER,
                                              acting directly and/or through its actual and/or apparent agents, servants and/or employees
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D., or that it is
                                              liable to Plaintiffs for any alleged negligence of Third Party Defendants JENNIFER L. ROSSATO,
                                              D.O., CHIDINMA OSEFO, M.D., and/or TAMAJAH GIBSON, M.D., individually—which it
                                              continues to deny—a judgment be entered in Third Party Plaintiff’s favor and against PCC
                                              COMMUNITY WELLNESS CENTER, for contractual indemnification in an amount equal to any
                                              settlement entered into by or verdict rendered against VHS WEST SUBURBAN MEDICAL
                                              CENTER, INC. d/b/a WEST SUBURBAN MEDICAL CENTER, and for attorneys’ fees, costs,
                                              expenses, and all sums allowed by law.
                                                                                   COUNT III
                                                                         IMPLIED INDEMNIFICATION –
                                                  JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., AND TAMAJAH GIBSON, M.D

                                                     50.     Third Party Plaintiff restates and re-alleges the preceding paragraphs 1-29 of
                                              this Third Party Complaint as if fully stated herein.
                                                     51.     Third Party Defendants JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D.,
                                              and TAMAJAH GIBSON, M.D., breached the standard of care and were negligent in one or more
                                              of the following ways:
                                                             a.        Failing to properly assess Sharda Clay and her fetus;


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                                                             b.     Failing to recognize Sharda Clay's condition and to do so on a timely
                                                                    basis;
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                                                             c.     Failing to recognize the fetus's condition and to do so on a timely basis;
                                                             d.     Failing to respond appropriately to the mother's condition and the
                                                                    fetus's condition in a timely manner;
                                                             e.     Failing to respond appropriately to the fetal heart tracings and
                                                                    other signs and symptoms of fetal stress and/or fetal distress;
                                                             f.     Failing to appreciate the appropriate method of delivery required;
                                                             g.     Failing to properly manage and monitor the labor and delivery so as to
                                                                    prevent avoidable injury to the baby;
                                                             h.     Failing to advise Sharda Clay of the risks of continuing a trial of labor
                                                                    rather than delivering the baby by cesarean section;
                                                             i.     Failing to deliver             in a timely manner;
                                                             n.     F ailing to perform a cesarean section in a timely manner;
                                                             o.     Failing to properly read and interpret the fetal heart tracings;
                                                             1.     Failing to timely recognize and appropriately respond to signs and
                                                                    symptoms of fetal stress and/or fetal distress;
                                                             u.     Failing to intervene in a timely manner to prevent severe injuries to
                                                                                ;
                                                             v.     Failing to initiate the chain of command in the setting of the physician's
                                                                    obviously negligent actions;
                                                             w.     Failing to provide adequate supervision of obstetrical personnel;
                                                             x.     Failing to appropriately and timely diagnose a labor dystocia/failure to
                                                                    progress.
                                                     52.     As a direct and proximate result of the negligence of Third Party Defendants
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D.,
                                              individually, (as described above), Plaintiffs were injured.
                                                     53.     Third Party Plaintiff had a pre-tort relationship with JENNIFER ROSSATO, D.O.,
                                              CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D.
                                                     54.     Prior to Plaintiffs’ lawsuit, Third Party Plaintiff WSMC entered into written
                                              agreements (“Letter Agreements”) with each Third Party Defendant JENNIFER L. ROSSATO,


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                                              D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D. See Group Exhibit F, Letter
                                              Agreements.
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                                                     55.     Under the terms of the Letter Agreements, JENNIFER L. ROSSATO, D.O.,
                                              CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D., were each responsible for providing
                                              certain physician coverage for “Non-PCC Assigned Patients,” which is defined as “any patient
                                              under the obstetrical care of another physician who is not a physician employed by or under
                                              contract with PCC Community Wellness Center.” See Group Exhibit F.
                                                     56.     Further, the Letter Agreements stated that PCC physicians were independent
                                              contractors over whom WSMC did not exercise any control. WSMC only provided insurance
                                              coverage for PCC physician services that were provided to Non-PCC Assigned Patients as set
                                              out in the Letter Agreements. See Group Exhibit F.
                                                     57.     As a consequence of the allegations in Plaintiffs’ Amended Complaint, Plaintiffs
                                              now seek to hold Third Party Plaintiff WSMC vicariously liable for the acts and omissions of
                                              Third Party Defendants JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH
                                              GIBSON, M.D.
                                                     58.     The pre-tort relationships between WSMC and JENNIFER L. ROSSATO, D.O.,
                                              CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D., give rise to a duty implied in law,
                                              and/or equitable duty, on the part of the Third Party Defendants JENNIFER L. ROSSATO, D.O.,
                                              CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D., to indemnify WSMC in connection with
                                              Plaintiffs’ lawsuit if WSMC is found liable to Plaintiffs based on allegations of negligence by
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH GIBSON, M.D., as alleged
                                              actual and/or apparent agents, servants and/or employees of WSMC.
                                                     59.     If WSMC is found liable to Plaintiffs, based on the allegations of vicarious
                                              liability for the acts or omissions of JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and
                                              TAMAJAH GIBSON, M.D., Third Party Plaintiff WSMC is entitled to implied contractual
                                              indemnification from JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D., and TAMAJAH
                                              GIBSON, M.D., to the extent of their own negligence, for any settlement entered into by and/or
                                              judgment against WSMC as a result of Third Party Defendants’ negligence, and for attorneys’
                                              fees, costs and expenses of this lawsuit.
                                                     WHEREFORE, the Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC.
                                              d/b/a WEST SUBURBAN MEDICAL CENTER respectfully requests that, if it be determined that
                                              it is liable to Plaintiffs for any alleged negligence by JENNIFER L. ROSSATO, D.O., CHIDINMA

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                                              OSEFO, M.D. and/or TAMAJAH GIBSON, M.D., — liability that it continues to deny— a
                                              judgment be entered in Third Party Plaintiff’s favor and against JENNIFER L. ROSSATO, D.O.,
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                                              CHIDINMA OSEFO, M.D. and TAMAJAH GIBSON, M.D., individually, for indemnity in an amount
                                              equal to any settlement entered into by or verdict rendered against VHS WEST SUBURBAN
                                              MEDICAL CENTER, INC. d/b/a WEST SUBURBAN MEDICAL CENTER, and for attorneys’ fees,
                                              costs, expenses and all sums allowed by law.
                                                                                       COUNT IV
                                                                             – IMPLIED INDEMNIFICATION –
                                                                           PCC COMMUNITY WELLNESS CENTER

                                                     60.     Third Party Plaintiff restates and re-alleges the preceding paragraphs 1-29 of
                                              this Third Party Complaint, as if fully restated herein.
                                                     61.     At all times relevant, JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D. and
                                              TAMAJAH GIBSON, M.D., were the actual and/or apparent agents, servants and/or employees
                                              of Third Party Defendant PCC COMMUNITY WELLNESS CENTER, and were acting within the
                                              scope of their employment and/or agency for PCC when they rendered care and treatment to
                                              Sharda Clay and                  .
                                                     62.     Third Party Defendant PCC COMMUNITY WELLNESS CENTER, acting directly
                                              and/or through its actual and/or apparent agents, servants and/or employees JENNIFER L.
                                              ROSSATO, D.O., CHIDINMA OSEFO, M.D. and TAMAJAH GIBSON, M.D., breached the standard of
                                              care and was negligent in one or more of the following ways:
                                                                 a. Failing to properly assess Sharda Clay and her fetus;
                                                                 b. Failing to recognize Sharda Clay's condition and to do so on a timely
                                                                      basis;
                                                                 c. Failing to recognize the fetus's condition and to do so on a timely basis;
                                                                 d. Failing to respond appropriately to the mother's condition and the
                                                                      fetus's condition in a timely manner;
                                                                 e. Failing to respond appropriately to the fetal heart tracings and
                                                                      other signs and symptoms of fetal stress and/or fetal distress;
                                                                 f.   Failing to appreciate the appropriate method of delivery required;
                                                                 g. Failing to properly manage and monitor the labor and delivery so as to
                                                                      prevent avoidable injury to the baby;


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                                                                h. Failing to advise Sharda Clay of the risks of continuing a trial of labor
                                                                     rather than delivering the baby by cesarean section;
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                                                                i.   Failing to deliver             in a timely manner;
                                                                j.   F ailing to perform a cesarean section in a timely manner;
                                                                k. Failing to properly read and interpret the fetal heart tracings;
                                                                l.   Failing to timely recognize and appropriately respond to signs and
                                                                     symptoms of fetal stress and/or fetal distress;
                                                               m. Failing to intervene in a timely manner to prevent severe injuries to
                                                                                 ;
                                                               n. Failing to initiate the chain of command in the setting of the physician's
                                                                     obviously negligent actions;
                                                               o. Failing to provide adequate supervision of obstetrical personnel; and/or
                                                               p. Failing to appropriately and timely diagnose a labor dystocia/failure to
                                                                     progress.
                                                     63.    As a direct and proximate result of the negligence of Third Party Defendant PCC
                                              COMMUNITY WELLNESS CENTER, acting directly and/or through its actual and/or apparent
                                              agents, servants and/or employees Jennifer L. Rossato, D.O., Chidinma Osefo, M.D. and
                                              Tamajah Gibson, M.D. (as described above), Plaintiffs were injured.
                                                     64.    Third Party Plaintiff had a pre-tort relationship with Third Party Defendant PCC
                                              COMMUNITY WELLNESS CENTER.
                                                     65.    On or about January 1, 2010, West Suburban Medical Center and Third Party
                                              Defendant PCC COMMUNITY WELLNESS CENTER entered into a Professional Services
                                              Agreement (“Agreement”), which was in effect at all relevant times and was subsequently
                                              assigned to Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC. d/b/a WEST
                                              SUBURBAN MEDICAL CENTER on August 1, 2010. See Exhibit C and D.
                                                     66.    Under the terms of the Agreement and 1st Amendment, PCC is responsible,
                                              through its employed and contracted physicians, for providing certain physician services to
                                              both Non-PCC Assigned and PCC Assigned Patients. See Exhibit C and D.
                                                     67.    The term “PCC Assigned Patient,” shall mean any “any patient who is (a) under
                                              the care of a physician who is employed by or under contract with PCC Community Wellness
                                              Center or (b) not under the care of any other physician.” See Exhibit D, para. 4.


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                                                     68.     At all relevant times, Plaintiffs Sharda Clay and               were “PCC Assigned
                                              Patients” who were under the care of a physician employed by, or under contract with, PCC.
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                                              Plaintiffs were not under the care of any other physician. In fact, at all relevant times, Plaintiffs
                                              were under the care of Jennifer L. Rossato, D.O., Chidinma Osefo, M.D. and Tamajah Gibson,
                                              M.D., who were the actual and/or apparent agents, servants and/or employees of PCC.
                                                     69.     At all relevant times, Plaintiffs Sharda Clay and                 were not a “Non-
                                              PCC Assigned Patient”, which is defined as “any patient under the obstetrical care of another
                                              physician who is not a physician employed by or under contract with PCC Community
                                              Wellness Center.” See Exhibit D, para. 2.
                                                     70.     The pre-tort relationship between WSMC and PCC gives rise to a duty implied
                                              in law and/or an equitable duty on the part of Third Party Defendant PCC to indemnify WSMC
                                              in connection with Plaintiffs’ lawsuit if WSMC is found liable to Plaintiffs based on an
                                              allegation(s) that PCC COMMUNITY WELLNESS CENTER and/or Third Party Defendants
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D. and/or TAMAJAH GIBSON, M.D. were
                                              employees and/or actual and/or apparent agents of WSMC.
                                                     71.     Should WSMC be found liable to Plaintiffs based on any allegation that PCC
                                              COMMUNITY WELLNESS CENTER and/or Third Party Defendants JENNIFER L. ROSSATO, D.O.,
                                              CHIDINMA OSEFO, M.D. and/or TAMAJAH GIBSON, M.D. were employees and/or actual
                                              and/or apparent agents of WSMC— such liability being denied—so that WSMC’s liability is
                                              vicarious or derivative, PCC COMMUNITY WELLNESS CENTER is obligated to indemnify
                                              WSMC for such liability for any settlement entered into by or judgment rendered against
                                              WSMC, and for attorneys’ fees, costs, expenses and all sums allowed by law.
                                                     WHEREFORE, Third Party Plaintiff VHS WEST SUBURBAN MEDICAL CENTER, INC.
                                              d/b/a WEST SUBURBAN MEDICAL CENTER, respectfully requests that, if it be determined that
                                              it is liable to Plaintiffs for any alleged negligence by PCC Community Wellness Center and/or
                                              JENNIFER L. ROSSATO, D.O., CHIDINMA OSEFO, M.D. and/or TAMAJAH GIBSON, M.D. —
                                              liability that it continues to deny— a judgment be entered in Third Party Plaintiff’s favor and
                                              against PCC Community Wellness Center for indemnity in an amount equal to any settlement
                                              entered into by or verdict rendered against VHS WEST SUBURBAN MEDICAL CENTER, INC.
                                              d/b/a WEST SUBURBAN MEDICAL CENTER in regards to this lawsuit, and for attorneys’ fees,
                                              costs, expenses and all sums allowed by law.


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                                              DEFENDANTS REQUEST TRIAL BY JURY

                                                                                      Respectfully Submitted,
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                                                                                      SMITHAMUNDSEN LLC

                                                                                      /s/ Moses Suarez
                                                                                      ____________________________________________
                                                                                      One of the Attorneys for Defendant,
                                                                                      VHS WEST SUBURBAN MEDICAL
                                                                                      CENTER, INC., d/b/a WEST SUBURBAN
                                                                                      MEDICAL CENTER

                                              Moses Suarez – msuarez@salawus.com
                                              Emily L. Berris – eberris@salawus.com
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                                              Chicago, IL 60601
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            Exhibit C
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                                        CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Sharda Clay, etc. v.

VHS West Suburban Medical Center, Inc., d/b/a West Suburban Medical Center v. PCC

Community Wellness Center, et al., No. 2018 L 013059 (Circuit Court of Cook County, Illinois),

and all attachments thereto. On the basis of the information now available, I find that at the

relevant times, the PCC Community Wellness Center was a private entity receiving grant money

from the Public Health Service pursuant to 42 U.S.C. § 233. Further, I certify that Jennifer

Rossato, D.O., Chidinma, Osefo, M.D., and Tamajah Gibson, M.D., were acting within the scope

of their employment at the PCC Community Wellness Center with respect to the incidents referred

to in the complaint. Accordingly, for purposes of the above case, the PCC Community Wellness

Center, Jennifer Rossato, D.O., Chidinma, Osefo, M.D., and Tamajah Gibson, M.D., are deemed

to be employees of the United States pursuant to 42 U.S.C. § 233, for Federal Tort Claims Act

purposes only.

                                                s/ Thomas P. Walsh
                                               THOMAS P. WALSH
                                               Chief, Civil Division
                                               Office of the United States Attorney
                                                for the Northern District of Illinois

Date: March 11, 2021
